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                                                      FILED IN CHAMBERS
                                                      U.S.D.C ATLANTA
                                                      Jun 09 2020
                                                Date: __________________________

                                                JAMES N. HATTEN, Clerk
                                                    s/James Jarvis
                                                By: ____________________________
                                                          Deputy Clerk
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                                    AFFIDAVIT

   I, Daryl Greenberg, depose and say under penalty of perjury:

   1.     I make this affidavit in support of an application for a criminal

complaint against Stephen Matthew SHUMAKER, a/k/a Matt SHUMAKER,
charging violations of Title 18, U.S.C. § 1341 and Title 7 U.S.C. §§ 136j(a)(1)(F),

and 136l(b)(1)(B). The investigation relates to a scheme to defraud consumers by

SHUMAKER, and others, who falsely claim that an air purifier, a misbranded
device, will protect against and kill COVID-19 (the coronavirus disease) in their

homes.

   2.     I am a Postal Inspector with the United States Postal Inspection Service.
I have been employed as a Postal Inspector since 2003, and was a police officer

for seven years before that. I investigate criminal violations relating to mail

fraud, in addition to other matters. I am familiar with various fraudulent

schemes utilized by suspects, including those involving theft under false

pretenses, and I have participated in numerous fraud investigations involving

false claims of products and services offered. I have debriefed defendants,

witnesses, and informants regarding numerous fraud investigations. I am also

well versed in conducting investigations that use such tactics as physical

surveillance, electronic surveillance, interceptions of wire and electronic
communications, undercover transactions, and the execution of search warrants.

From my experience, I know that fraudulent schemes typically involve the use of

misleading and untrue statements to induce the sale of products and services to
consumers.
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   3.     This affidavit is based upon my personal knowledge derived from my

participation in this investigation; information that I have learned from special

agents and others employed by the Environmental Protection Agency (EPA),

U.S. Immigration & Customs Enforcement, Homeland Security Investigations
(HSI), and additional law enforcement personnel who are involved in this

investigation; and information obtained from other sources, including through

business records and recorded phone calls with SHUMAKER and others.

   4.     Unless otherwise noted, wherever in this affidavit I assert that a

statement was made, the information was provided by another law enforcement

officer (who may have either direct or hearsay knowledge of the statement) to

whom I have spoken or whose report I have read and reviewed. Such statements

are stated in substance, unless otherwise indicated. Wherever in this affidavit I

state a belief, such belief is based upon my training and experience and the

information obtained through this investigation.

   5.     The information contained in this affidavit is submitted for the purpose

of demonstrating probable cause to obtain a criminal complaint against
SHUMAKER for engaging in a scheme to defraud using false pretenses,

representations, and promises, and the use of the mails (18 U.S.C § 1341); and for

knowingly distributing and selling a device that is misbranded contrary to law (7

U.S.C. §§ 136j(a)(1)(F), and 136l(b)(1)(B). The facts stated in this affidavit do not

reflect the totality of the information known to me or other officers, and are

merely the amount needed to establish probable cause. I do not rely upon facts

not stated here in reaching my conclusion that a complaint should issue. Nor do I

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request that this Court rely upon any facts not stated here in reviewing this

affidavit in support of the application for a criminal complaint.

               STATUTORY AND REGULATORY BACKGROUND

   I. Mail Fraud

   6.     18 U.S.C. § 1341 makes it a federal crime for a person to knowingly

devise or participate in a scheme to defraud another by using false or fraudulent

pretenses, representations, or promises about a material fact, with the intent to

defraud, and by using the mail.

   II. The Federal Insecticide, Fungicide and Rodenticide Act (FIFRA)

   7.     FIFRA regulates the production, sale, distribution and use of pesticides

and pesticidal products in the United States. A “pesticide” is any substance or

mixture of substances intended for preventing, destroying, repelling, or

mitigating any pest. 7 U.S.C. § 136(u); 40 C.F.R. § 152.3. The term “pest” is

broadly defined to include, among other things, viruses, bacteria, or other micro-

organisms. 7 U.S.C. § 136(t). The term “device” means any instrument or

contrivance intended to trap, destroy, repel, or mitigate any pest or other form of

plant or animal life. 7 U.S.C. § 136(u).
   8.     FIFRA requires all pesticidal products sold or distributed to be

manufactured at an EPA registered establishment. 7 U.S.C. § 136a(a); 40 C.F.R.

§§ 152.500 and 167.20. Pesticidal product means a pesticide, active ingredient, or
device. 40 C.F.R. § 167.3. Pesticide-producing establishments receive an

establishment-registration number (designated by the phrase “EPA Est.”). 40

C.F.R. §§ 156.10(e) and 156.10(f).

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   9.       All pesticidal products are subject to the labeling requirements of 7

U.S.C. § 136(q)(1) and 40 C.F.R. 156. The label must contain the establishment

number (40 C.F.R. § 156.10(a)); directions for use (40 C.F.R. § 156.10(i); child

hazard warnings (40 C.F.R. § 156.66); a first aid statement (40 C.F.R. § 156.68);
precautionary statements for humans and domestic animals (40 C.F.R. § 156.70);

and environmental hazard and precautionary statements (40 C.F.R. §§ 156.80 and

156.85). It is unlawful for any person to sell or distribute to any other person a

device that is “misbranded.” 7 U.S.C. § 136j(a)(1)(F). A device is “misbranded”

under FIFRA if, inter alia, the label does not bear the registration number

assigned under 7 U.S.C. § 136e to each establishment in which it was produced.

7 U.S.C. § 136(q)(1)(D).

   10.      Under FIFRA, it is a criminal offense to knowingly violate any

provision of the statute. 7 U.S.C. § 136l(b)(1)(B).

                     FACTS SUPPORTING PROBABLE CAUSE

   11.      On April 7, 2020 I opened a criminal investigation after a resident of the

Northern District of Georgia reported receiving a suspicious post card in the First
Class United States Mail. The postcard claimed,

         CREATE CLEAN AIR FOR LESS THAN $1/DAY!! KILL COVID-19,

         CORONAVIRUS IN YOUR HOME!! CALL TODAY!! (770) 368-
            6188

on one side, and

         BEYOND GUARDIAN AIR Kills every known major viral and

         bacterial infection including Staph, E. Coli, MRSA, Strep. Avian Bird

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         Flu, Hepatitis, Swine Flu, and Norovirus Utilizing ActivePure

         Technology. ActivePure creates hydrogen peroxide. Hydrogen

         peroxide is a known killer of COVID-19, CORONAVIRUS CREATE

         CLEAN AIR FOR LESS THAN $1/DAY!! CALL TODAY FOR MORE
         INFORMATION

on the other.

   12.     The postcard also contained a photograph of an air purifier (the

DEVICE). The following is a true and correct copy of the postcard:




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   13.      Using open source searches, I learned that the telephone number on the

postcard belongs to a company in the Northern District of Georgia called Pure

Life Water Corp (PLW), a corporation registered with the Georgia Secretary of

State since December 8, 2016. Stephen SHUMAKER is identified as its CEO, CFO,
Secretary, and Registered Agent in each of PLW’s annual corporate registrations

with the Secretary of State. I am unable to locate an EIN number for this

company, and a search of Georgia Department of Labor returns no results for

PLW or any paid employee of that company.

   14.      Using a US Postal Service record search of a tracking number on the

postcard, I determined that the postcard was mailed by Atlanta Business

Circulars (ABC) at the Marietta, GA Post Office. I also learned that the postcard

was then processed through the USPS Crown Road Product and Distribution

Center in Atlanta, GA. Both the Post Office and the Distribution Center are in the

Northern District of Georgia. I spoke with the CEO of ABC, R.L., and he

confirmed that ABC produced and mailed this postcard, and many others, under

the direction of SHUMAKER and for PLW.
   15.      ABC also produced records to me that showed the following:

         a. on March 16, 2020, at 12:42pm, R.L. received a request from C.M.

stating:

         My name is [C.M.], and I am the Director of Public Relations with

         PLW. I am helping my boss, Matt Shumaker, with finalizing the

         Beyond Guardian Air mailer. Here are the revisions we want below.

         . . . (Please put ‘Covid-19 CORONAVIRUS’ in bold, all caps and red

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         font) . . . . please put the following ‘KILL COVID-19

         CORONAVIRUS IN YOUR HOME!!’ (this needs to be in BIG, red

         font, and it needs to take up most of the [message space]. Matt

         couldn’t stress enough that he wants that phrase to pop, be BIG, and
         be the main focus ….We look forward to the quick turnaround;

         b. On March 16, 2020 at 1:14pm, R.L. replied, “I put a big red box on the

[message space] with white font. I figured that would pop more than simply red

font.” Pictures of the front and back of the postcard (the “proofs”) were attached;

         c. Twelve minutes later, on March 16, 2020 at 1:26 pm, C.M. replied to

R.L., with a cc to Matt SHUMAKER at joinmattshu@gmail.com, and asked R.L. to

correct misspellings of “hydrogen” and “coronavirus;” and

         d. At 3:36pm on March 16, 2020, R.L. mailed a proof with the requested

changes to R.L. with a cc to Matt SHUMAKER at joinmattshu@gmail.com.

   16.      Additional information obtained from ABC shows that the postcard

was then mass produced and mailed the following day by ABC, at

SHUMAKER’s direction, to residents of Georgia, including citizens of the
Northern District. In total, ABC mailed three batches of these postcards for

SHUMAKER and PLW to approximately 3,518 Georgia residents on March 17, 18

and 20, 2020.

   17.      ABC then mailed three additional batches of postcards on March 25, 26

and April 1, 2020 to an additional of 2,253 Georgia residents, including citizens

who lived in the Northern District. The language “KILL COVID-19
CORONAVIRUS IN YOUR HOME!!” was replaced with “Protect your family’s

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air and surfaces from viruses and bacteria!,” but otherwise appeared the same.

The change request was received by R.L. on March 24, 2020 at 2:58, via email

from Stephen Matthew SHUMAKER at joinmattshu@gmail.com. A true and

correct copy of the final proof of the second postcard is immediately below:




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   18.    In total, ABC produced and mailed 5,777 postcards for SHUMAKER

and PLW using SHUMAKER’s language and specifications, and at his direction.
ABC charged more than $20,000 for this service, which was paid by a credit card

in the name of Matt SHUMAKER, ending in XXXX1009.

   19.    ABC also confirmed a long-standing business relationship with PLW
and SHUMAKER, as its owner. ABC provided an address for PLW and

SHUMAKER of 12195 HWY 92 Suite 114-359, Woodstock, GA 30188.




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   20.    I determined that the address 12195 HWY 92 Suite 114-359 Woodstock,

GA 30188 is a post box in UPS Store, Store #3513. Post box records show that

SHUMAKER opened this mailbox on May 2, 2017 using two forms of

identification, a Georgia driver’s license and an insurance card. SHUMAKER
listed an email address of inmattshu@gmail.com and a telephone number of 404-

xxx-8323. In the application SHUMAKER also listed the name PLW, although

multiple letters inside the box indicate that both PLW and SHUMAKER, in his

individual capacity, use the box to receive mail.

   21.    One letter in the UPS Store box addressed to PLW has a return name of

B.L. with a Lithonia, GA address. I compared B.L.’s name and address with the

names and addresses on the postcard mailing list provided by ABC, and I

confirmed that B.L. was on the mailing list to receive a postcard with COVID-

19/CORONAVIRUS claims.

   22.    A website for PLW was located at purelifewaterga.com. The website

contains information about air filtration products and services, and it has a

picture and a description of the DEVICE for sale. The website also identifies 25
cities, all within the Northern District of Georgia, as being in their coverage area.

The website lists an address of Woodstock, GA 30188 and a copyright year of

2020. There is also a video link to a 1 min 33 sec “Trust Dale” video on the

website. In the video, the speaker identifies himself as Matt SHUMAKER and

states that he is the owner of PLW. The website does not contain the claims made

on the postcard.



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   23.      A Georgia Driver's license check produced a picture identification of

SHUMAKER which matches the person in the purelifewaterga.com video.

   24.      SHUMAKER's address on his current Georgia driver’s license is in

Marietta, Georgia. SHUMAKER receives mail addressed to himself and PLW at
this address.

   25.      The principal office address for PLW listed with the Georgia Secretary

of State is a duplex residence in a retirement community. A postal carrier

confirmed mail is currently delivered to a J. and M. Shumaker at this address,

who are believed to be relatives of SHUMAKER.

   26.      On April 16, 2020, I made an undercover recorded call to the 770-368-

6188 phone number listed on the postcards sent by ABC. During the call, a

female stated:

         So, what they do is they’re selling those air filters that purify so you

         have UV light and it does help to kill any coronavirus, any bacteria,

         any virus so it keeps your house clean . . . . Not only the coronavirus,

         pretty much everything, anything that has because what it does it
         purifies, it’s kind of big so it does, it kinda absorbs all your air at

         your house, whichever room you put it in and it does like you know

         it starts like purifying your air so it goes through different filters and

         goes through a UV light …. It’s a UV light so when it goes through

         there it kills anything that goes there so it does protect your family,

         it does protect yourself.



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The female offered me an in-home visit from a representative of Pure Life Water

in Woodstock, GA.

   27.      On April 23, 2020, at 4:22 PM, an undercover agent (UCA) made a

phone call to phone number 770-368-6188, which was listed on the post card
mailings. A male who identified himself as MIKE answered the phone. UCA

stated that he was calling about the DEVICE. MIKE asked UCA where he found

the ad for the DEVICE, and UCA advised that it was mailed.

         MIKE - “Well, the Beyond Air [DEVICE] produces hydrogen peroxide

         inside the unit, it has hydroxyls. Hydrogen peroxide is a known killer of

         the CORONAVIRUS as you know.”

         UCA- “Hydrogen Peroxide is one of the cures for the CORONAVIRUS

         right?”

         Mike- “Absolutely”

         Mike- “We get 30-50 calls a day since this thing has started. We are selling

         20 of these units a day right now.”

MIKE mentioned that the company’s main office was in Woodstock, Georgia.

However, he said that their company covered the entire state. After the UCA

provided MIKE with the mailing information, MIKE stated that he would call his

boss to ask about the total price, which would include the shipping and handling

fees.
   28.      On April 23, 2020, at 4:42 PM, the UCA received a phone call from a

male who identified himself as MIKE from Pure Life Air and Water. MIKE


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advised UCA that after speaking with his boss, the total cost for the product,

including the shipping, would be $2000.

         UCA- “where will the email receipt be coming from?”

         MIKE- “it will be coming from Paul the GM. It’s

         Pxxx.Mxxxxxxx@gmail.com”

         MIKE- “the boss, his name is Matt, Matt told me to call GM to run the

         card.”

UCA then asked to confirm which unit he was receiving.

         MIKE- “Yes, the Beyond Air purifier [the DEVICE], it has hydroxyls which

         produce hydrogen peroxide.”

Mike also stated that the UCA could go online to their website

(purelifewaterga.com) to see a picture of the DEVICE. MIKE stated that the

DEVICE would be the same DEVICE as advertised on the postcard received in

mail.

   29.      On April 23, 2020, at 5:17 PM, the UCA received a phone call from a
male who identified himself as MIKE:

         MIKE- “I spoke with Matt and he said the unit would ship tomorrow and

         you should get it no later than Tuesday or Wednesday.”

         UCA- “How confident are you that the unit will fight against

         CORONAVIRUS”




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         Mike- “Oh, I’m 1000% positive. Listen, if you opened a window and a

         cell came into your house, the Beyond Air [DEVICE] will kill it

         immediately.”

   30.      On April 23, 2020, the UCA received a number of calls from MIKE
regarding the UCA’s credit card payment and receipt, as well as billing questions

relayed from MATT. Ultimately, MIKE suggested he would have MATT call the

UCA.

   31.      On April 24, 2020, at 10:55 AM, the UCA received a phone call from a

male who stated his name was Matt SHUMAKER from phone number XXX-

8323. This was the same cellphone number that SHUMAKER listed on the post

box application for PLW. The following are statements made by SHUMAKER:

         “This is Matt SHUMAKER, I am one of the managers at Pure Life

         Water.”

         “The Beyond Guardian Air [DEVICE]… creates a current in your

         house. It’s going to ionize the air. And, then it goes into a HEPA filter

         … then into a carbon filter … then into ultraviolet light and then into a

         honeycomb maker.”

         “They developed it for the Space Station …. It produces microscopic

         hydroxyls, which is hydrogen peroxide. They came out yesterday and

         said it kills the Coronavirus Virus on the spot. Hydroxyls kills things in

         the air and on surfaces.”



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        “Someone could sneeze on a remote control that had it [COVID-19].

        You pick that remote control, you would be straight, and you’re not

        going to have a problem.”

        “If you do a Google search for things that kill COVID-19, hydrogen

        peroxide is number two on the list to kill COVID-19. They have done

        testing on SARS and MRSA which is the same family as COVID-19. It

        kills it … we know it just does.”

        “I feel incredibly confident. If anything comes in there, it kills it, from

        magazines, newspapers, to groceries.”

        “Every major league baseball clubhouse has it [the DEVICE]) in it. The

        Space Station has it.”

SHUMAKER also stated that he was sending an email to UCA’s email

address with a receipt for the purchase of the DEVICE. The UCA asked

SHUMAKER whether the item being shipped to the UCA was in fact the
DEVICE that was pictured on the mailer, and SHUMAKER confirmed that it

was the same DEVICE. SHUMAKER then told the UCA that the DEVICE

would be shipping from Kennesaw, Georgia. SHUMAKER stated that the
number that he used to call UCA was his cellphone number.

  32.      The UCA checked his email after the call with SHUMAKER, and

observed that he had received an email from an individual named Stephen
Matthew SHUMAKER at joinmattshu@gmail.com. The contents of the email

contained a merchant receipt from PLW for a purchase on April 23, 2020 at


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2:59 p.m. (PDT) in the amount of $2,000 (USD). The invoice displayed a
description of the item purchased as being “Goods or Services.”

   33.    On April 27, 2020, I retrieved a package addressed to the UCA at the

UCA’s postal shipping address within the Northern District of Georgia. The

package was delivered by United Parcel Service to the UCA’s post office in

Coweta County. The package was addressed to the UCA and showed a return

address of 840 Barrett Parkway, Kennesaw, GA 30144.

   34.    Inside the outer box, was an inner box with a picture and a description

of the DEVICE on it. Inside the inner box was the DEVICE. It matched the

photograph on the package and the postcards mailed out by ABC. This DEVICE
had serial number U30883G on it and a statement that it was manufactured in

the Peoples Republic of China (PRC). Many claims were on the packaging and

the inside pamphlet; however, there was no claim that the DEVICE killed
COVID19 or Coronavirus. The DEVICE was secured in evidence.

   35.    On April 28, 2020, I entered an Aerus/Electrolux store located at the

shipper’s address of 840 Barrett Parkway, Kennesaw, GA 30144. Without

identifying myself, I spoke with a sales associate, C.C., about the DEVICE, one of

which was on a pedestal in the showroom. C.C. stated that the DEVICE kills

many types of viruses but has not been proven in the United States to kill
COVID19 or the Coronavirus. C.C. stated it is being currently tested. C.C. stated

the units are priced at $2,000 on sale and normally cost $2,500. C.C. stated he is

selling 40-50 of these DEVICES a week, and the store just received a new



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shipment. C.C. stated the unit uses parts (outer shell) from China but is

assembled in the United States.

   36.      According to the EPA, the DEVICE violates FIFRA § 12(a)(1)(F), which

makes it unlawful to sell or distribute a pesticide device that is misbranded.
Specifically, the device is not labeled in accordance to FIFRA § 2 (q)(1), in that the

product label is missing an EPA establishment number.

   37.      Also according to the EPA, the following statements on the postcards

created and mailed by SHUMAKER and PLW through ABC to 5,777 citizens of

Georgia, including residents of the Northern District, are false and misleading:

         a. “KILL COVID-19 CORONAVIRUS IN YOUR HOME” is false and

misleading. SARS-CoV-2, the virus that causes Covid-19, is currently only

available for testing in laboratories as a test organism. Efficacy testing, which is

necessary in order for a seller of a device to make such claims, has only recently

become possible. To date, the EPA has not received any efficacy studies using

SARS-CoV-2. For this reason, no sellers of pesticide products or pesticide

devices were able to make a claim that a product or device could kill Covid-19 at
the time of the mailing or the multiple phone calls described above.

         b. “Kills every major viral and bacterial infection including Staph, E. Coli,

MRSA, Strep, Avian Bird Flu, Hepatitis, Swine Flu, and Norovirus” is false and

misleading because it is simply not possible to know if a device is capable of

killing “every known major viral and bacterial infection …”

         c. “ActivePure creates hydrogen peroxide. Hydrogen peroxide is a known

killer of COVID-19, CORONAVIRUS” is false and misleading because, while

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some hydrogen peroxide-containing products meet EPA’s criteria for use against

SARS-CoV-2, the virus that causes Covid-19, there are other factors that

contribute to the efficacy of a pesticide product, such as the concentration of the

active ingredient (hydrogen peroxide) and the contact time, specified on the
product label as the time that the product must remain wet in order to kill the

target organism, none of which have been shown to exist for this DEVICE.

         d-. “Protect your family’s air and surfaces from viruses and bacteria!” is

false and misleading because the statement implies that the DEVICE alone will

protect the air and surfaces from viruses and bacteria with no additional

pesticide products needed. There is no underlying proof that the substance
produced by the DEVICE protects surfaces from viruses and bacteria. In the

EPA’s experience, additional pesticidal products would be needed to treat

surfaces. There are currently no EPA registered disinfectant products for use on
air.

                                 REQUEST TO SEAL

   38.      Because this investigation is ongoing, disclosure of this Affidavit,

and/or the application and the attachments, could jeopardize the progress of the

investigation. Premature disclosure of the content of this Affidavit could alert

the target(s) of the investigation, and any potential co-conspirators or
accomplices to the status of the investigation to date, and could compromise the

government’s on-going investigation, such as by possibly leading the target(s),

co-conspirators, or accomplices to flee, or to remove, destroy, or alter evidence.



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Accordingly, I respectfully request that the arrest warrant, this Affidavit, and all

attachments thereto are sealed until further order of this Court.

                                    CONCLUSION

   39.    Based on the above information, I respectfully submit there is probable

cause to believe that Stephen Matthew SHUMAKER, a/k/a Matt SHUMAKER is

engaging in a scheme to defraud using false pretenses, representations and

promises and the use of the mails (18 U.S.C Section 1341); and is knowingly

distributing and selling a device that is misbranded contrary to law (7 U.S.C. §§

136j(a)(1)(F), and 136l(b)(1)(B).




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